Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 1 of 24 PageID 5405




                                                     EXHIBIT 3
   Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 2 of 24 PageID 5406




     From: Matt Kaiser <mkaiser@firstalliedcorp.com>
  Subject: RE: Revised Ticket Fax Proof
     Date: June 26, 2009 12:16:37 PM PDT
       To: 'Morgan, Darren'
           1 Attachment, 50.0 KB

 Great!   Can you squeeze       the following at the bottom using 9 point font:

 To immediately and permanantly remove your fax number               from our opt-in   compiled   database, please call 877-
 272-7614. Removaltech@FaxOom.com

 Matt Kaiser
 Acquisitions Manager
 First Allied Corporation
 9601 Wilshire Blvd., Suite 744
 Beverly Hills, CA 90210
 Tel: (310) 275-8944
 Fax: (310) 275-8995
 www.firstalliedcorp.com




 From: Morgan, Darren [m Ito dn organ@buccaneers.nfl.com
 Sent: Friday, June 26, 2009 12:24 PM
 To: Matt Kaiser
 Subject: Revised Ticket Fax Proof

 Matt:

Attached is the revised ticket fax sheet. Take a look and let me know your thoughts.


Darren

                           Darren Morgan
                           Creative Services DIrector
                             ampa Bay Buccaneers
                           One Buccaneer Place
                           Tampa FL 33607
                           (813) 554-1364
                           (813) 387-6310 (fax)
                           www.buccaneers.com




                                                                                                                      BLP 000029
Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 3 of 24 PageID 5407




     From: Matt Kaiser <mkaiser@firstalliedcorp.com>
   Subject; Re: fax
      Date: June 3, 2010 9:00:07 AM PDT
        To: 11 sales@faxqom.com 11 <Sales@faxqom.com>


  You were going to send me back my order form with your signature showing
  acceptance of my language.

  Matt Kaiser
  Mobile: (31 O) 980-4068

  On Jun 3, 2010, at 8:36 AM, 11 sales@faxqom.com 11 <sales@faxqom,com>
  wrote:

   Matt,

   Signed order form? What is this?



   Steve




                                                                                BLP0033   1
        Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 4 of 24 PageID 5408

BuccaneersLimited Partnership                                                                                                                                                                                           73 525

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        Baccancers LimitedP                     1;¢




 Vendor                     FAXQOM                          ehec                    ate                                  7/9/2009                  Check          Number                073525

  Ref     Nbr                I                              e            te                        Invoice           Amount             Amount             Pald             Disc       Taken                Net.   Chee      i

  117928             Se                         xes                 2009                                         15336.80                          15336.80                        ,
                                                                                                                                                                                           O 00                               6.80




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 Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 5 of 24 PageID 5409




   From: Matt Kaiser <mkaiser@firstalliedcorp.com>
 Subject: 1st Day Fax
    Date: July 13, 2009 2:57:49 PM PDT
      To: 'sales@faxqom.com'
           1 Attachment, 296 KB

Steve,

Here is the fax sheet for tomorrow only. I will send you the ones for Wednesday and Thursday after thisone goes out.

Please add the following to the list anytime a fax goes out.

(813) 872-0046
(813) 554-1351
(310) 275-8995
(866) 613-5112
(813) 387-6310

Please confirm your receipt of the attached.   I look forward to the report for the 1*day.

If you have any questions or issues, please contact me on my mobile in the morning (310) 980-4068.

Thank you,

Matt Kaiser
Acquisitions Manager
First Allied Corporation
9601 Wilshire Blvd., Suite 744
Beverly Hills, CA 90210
Tel: (310) 275-8944
Fax: (310) 275-8995
www.firstalliedcorp.com



FaxSheetg        df_(296 KB)




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Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 6 of 24 PageID 5410


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        NE   BLJCCANEEA   PLACE   TAMPA.      FL   33807                                       TEL   (813)   670        2700           EILJCCANEERS.COM




         DArE:      7/14/09               # of Pages       tincluding cover]:      2
                                                                                                               2009 SCHEDULE
                                                                                                               ---vuxmmumimam---




                                                                                                               DALLAS
                                                                                                               September           13 \ 1:00pm
              To:   Human     ResourceS
                                                                                                               AT BUFFALO
                                                                                                               ŠeptemberlO[4:OSpm
        moM:        Group Seating          Department
                                                                                                               N.Y. GIANTS
                                                                                                               September27           [ 1:00pm
  SLJEUEct:         Buccaneers     Group Tickets
                                                                                                               AT WASHINGTON
                                                                                                               October 4 | 1:00pm

                                                                                                               AT PHILADELPHIA
                                                                                                               October 11 | 1:00pm
  ADOfTlONAL         COMMENTS:
                                                                                                               CAROLINA
                                                                                                               October18|1:00pm
 Attached    is the information on group seating. Tickets are
 available  for groups of 20 or more people. When buying group                                                 NEW ENGLAND
 seating,  you save up to $16 per ticket versus the individual gam€                                            October25\1:00pmjLONDON
 ticket cost. Group seating also gives you access to large blocks of
 seating that are not available any other way.                                                                 GREEN BAY
                                                                                                               November 8 | 1:DOpm

 Many companies    use group                seatîng        as a retreat   and/or       reward to              AT MIAMI
 build team unity.                                                                                             November15|1:00pm

                                                                                                               NEW ORLEANS
                                                      don't hesitate
                                                                   .

 If you have any questions,                please                         to call us at                        November22|1:00pm
 (877) 649-BUCS (2827).
                                                                                                              AT ATLANTA
                                                                                                              November 29 | 1:00pm

                                                                                                              AT CAROLINA
                                                                                                               December 6 | 1:00pm

                                                                                                               N.Y. JETS
                                                                                                               December 13            1:00pm

                                                                                                              AT SEATTLE
                                                                                                              December 20 | 4:15pm

                                                                                                              AT NEW ORLEANS
                                                                                                               December 27 | 1:00pm

                                                                                                              ATLANTA
                                                                                                               January 3 j 1:00pm

           CHAMPIONS
  2002 WORLD                                                                                                  'ALL TIMESEASTERNISDilÆCT          TOCHANGE




                                                                                                                                                    BLP 000041
   Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 7 of 24 PageID 5411




                               /                 ONSALENOW!
                                      GROUPTICKETS
           Bui mg                                         877-649-BUCS(2827)
                                SECTION              A                 B                 C                   D                  E
            GROUP
                PERGAMEPRICE                      $99.00            $89.00            $85.00             $75.00              $65,00
                                         Groupticketsareavailablein packages of20 or moreand
                                                 reflecta discount ofupto $16per ticket


           DALLAS                           N.Y.GIANTS                        CAROLINA                           GREENBAY
           September13 I 1:00pm             September27 I 1:00pm              October18 I T:00pm                 November8 I 1:00pm
            NEWORLEANS                      N.Y.JETS                          ATLANTA
            November22 I 1:00pm             December1311:DDpm                 January 3 I 1:00pm



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                                                              EASTCLUBSEATS                                            (";;
                                             CLUB3       CLUB 2      CLUS1            CLUB 2    CLUB 3




                                        E


    Call877-649-BUCS(2827) or visit www.buccaneers.comtodayfor seat locations
To immediately and permanantly remove your faxnumber from our opt-in compiled database, please call 877-272 7614.   Removaltech@FaxQam.com


                                                                                                                                        BLP 000042
       Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 8 of 24 PageID 5412




       From: Matt Kaiser <mkaiser@firstalliedcorp.com>
     Subject: Wednesday & Thursday Faxes
        Date: July 14, 2009 10:39:21 AM PDT
          To: 'sales@faxqom.com'
              2 Attachments, 914 KB

    Steve,

    Attached are the Wednesday and Thursday faxes (marked as 7/15 & 7/16).

    Matt Kaiser
    Acquisitions Manager
    First Allied Corporation
    9601 Wilshire Blvd., Suite 744
    Beverly Hills, CA 90210
    Tel: (310 275-8944
    Fax: (310) 275-8995
    www.firstalliedcorp.com



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Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 9 of 24 PageID 5413




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 ONE   BUCCANEER      PLACE     TAMPA,    FL   33807                                          TEL:   [8131870-2700                       BLICCANEERS.COM




       DATE:       7/15/09           # of Peges           (including coverk      2
                                                                                                                      2008 SCHEDULE
                                                                                                                      ---wmnumaamammmm




                                                                                                                      DALLAS
                                                                                                                      September13|1:00pm
            To:    Human      ResourCOS
                                                                                                                      AT BUFFALO
                                                                                                                      September20|4:05pm
       moM:        Group Seating         Department
                                                                                                                      N.Y. GIANTS
                                                                                                                      September27         1:00pm
 SUBJECT:          BUCCaneerS      GrOUP TÍCkets
                                                                                                                      AT WASHINGTON
                                                                                                                      October 4 | 1:00pm

                                                                                                                     AT PHILADELPHIA
                                                                                                                      October 11 | 1:00pm
AcomONAL            COMMENTS:
                                                                                                                     CAROLINA
                                                                                                                      October18(1:00pm
Attached   îs the information on group seating-Tickets  are
available for groups of 20 or more people. When buying group                                                         NEW ENGLAND
seating, you save up to $16 per ticket versus the individual gam€                                                     October2Sli:00pmjLONDON
ticket cost. Group seating also gives you access to large blocks of
seating that are not available any other way.                                                                        GREEN BAY
                                                                                                                     November 8 | 1:00pm

Many companies           use group seating               as a retreat   and/or       reward   to                     AT MIAMi
build team unity.                                                                                                     November 15 j 1:00pm

                                                                  .                                                  NEW ORLEANS
If you have any questions,               please        don't hesitate   to call us at                                 Novembor22|1:00pm
(877) 649-BUCS (2827).
                                                                                                                     AT ATLANTA
                                                                                                                     November 29 | 1:00pm

                                                                                                                     ATCAROLINA
                                                                                                                     December 6 | 1:00pm

                                                                                                                     N.Y. JETS
                                                                                                                      December 13 1:00pm

                                                                                                                     AT SEATTLE
                                                                                                                      December 20 ) 4:15pm

                                                                                                                     AT NEW ORLEANS
                                                                                                                     December 27 j 1:00pm

                                                                                                                     ATLANTA
                                                                                                                     January 3 | 1:DDpm

 200E WORLD
          CHAMPIONS                                                                                                  'ALLTIMESEASTERNISUBJECTTOCHANGE




                                                                                                                                                           BLP 000045
   Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 10 of 24 PageID 5414




                                /                ONSALENOW!
                                      GROUPTICKETS
            Om sea5                                         877-649-BUCS(2827)
                                SECTION                A                B                  C                   D                 E
            GROUP
                PERGAMEPRICE                      $99.00              $89.00            $85.00             $75.00              $65.00
                                          Groupticketsare availablein packages of 20 or moreand
                                                  reflecta discount of up to$16per ticket


            DALLAS                           N.Y.GIANTS                         CAROLINA                           GREENBAY
            September13 I 1:00pm             September27 l 1:00pm               October18 I 1:00pm                 November8 11:00pm
            NEWORLEANS                       N.Y.JETS                           ATLANTA
            November22 I 1:00pm              December13 I 1:00pm                January 3 I 1:00pm



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                        Entry                                                                                            Entry
                        Ramp
                                                                WEST CLUBSEATS                                           "3"




                       ("                                           ASTCLUBSEATS                                         Lag
                                              CLUB3        CLUB2                       CLUB 2     CLUS3




    Call877-649-BUCS
                   (2827) or visitwww.buccaneers.comtodayfor seat locations
To immediately and permanently remove your fa× number from our opt-in compiled database, please call 877-272-7514.    Removaltech@FaxQom.com

                                                                                                                                        BLP 000046
        Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 11 of 24 PageID 5415
                                                              BLP 000067



                                                              FMQam
                                                      Worldwide IP Fax Broadcast
                                                              617-674-2l47
                                                         www.Faxqom.com
                                         Fax Broadcast                Order Form


           Name:     ÑA                                                                 Co Name:




           What area codes do you want to fax to? What Quantitiesper area code?
    i      Please list area codes and quantities below and any other broadcast details needed !

           352 area code 123,617 fax numbers      / 2 page fax
           941 area code 62,013 fax numbers      !2 page fax
           813 area code 88,199 fax numbers      / 2 page fax                     ( per Matt Kaiser )
           727 area code 32,907 fax numbers   /2 page



                       Standard   fax costs are 2.5     cents per fax for þulk by city, state, area code only

r


                 Total faxes ordered:            613,472               Total Cost: $15,336.80

          Schedule:

          Tuesday,  July 14th 2009 @9:15AM All 727 area codes
                                                          -




          Wednesday, July 15th @ 9:15AM - All 813 area codes
                          16th
          Thursday, July       @ 9:15AM All 352 & 941 area codes
                                                  -




          The acceptance of this a reement              and payment        is subject to the conditions   set forth in
          Exhibit A (attached).

                              To place immediate                   Order,       fax to 888-705-2307
Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 12 of 24 PageID 5416
                                                         BLP 000069




                                                           Exhibit A

                           -

                                FaxQomagrees to stop the campaign and refund all monies paid
                                immediately at anytime with the written request from the Tampa Bay
                                Buccaneers.

                       -

                                FaxQom    has acknowledged the Indemnity Form signed by
                                Buccaneers Limited Partnership, which indemnifies the Tampa Bay
                                Buccaneers from any and all complaints or litigation that may arise as
                                a result of this campaign.

                       -

                                The Tampa Bay Buccaneers will receive a detailed report showing the
                                total number of successfully delivered faxes and will only be charged
                                for each successful delivery of each. Such reports will be to the
                                satisfaction of the Tampa Bay Buccaneers to the extent these reports
                                can be generated by FaxQom.

                   -

                               FaxQomagrees to send al faxes at the times and dates outlined     in the
                               Sales Agreement.

               -

                               FaxQomconfirms      that all faxes have been collected according to the
                               best industry practices as outlined by the Direct Marketing
                               Association (DMA).

           -

                               FaxQomwill agree to and abide by all laws associated with facimile
                               marketing.
 Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 13 of 24 PageID 5417




    From: Matt Kaiser <mkaiser@firstalliedcorp.com>
  Subject: Buccaneers Fax
     Date: August 13, 2009 9:22:31 AM PDT
       To: 'sales@faxqom.com'
       Cc: 'Layton, Jason'
           2 Attachments, 5.4 MB

 Steve,

 Attached is the fax sheet (one page thistime)and a copy of the agreement which shows the area codes to send to
 (same as before) with dates and times to send. I have also summarized the schedule below:

 (727) Area Code = 32,907 total #s To be sent on 8/17/09 @ 9:30AM EST
                                         ^




 (813) Area Code = 88,197 tota!#s To be sent on 8/18/09 @ 9:30AM EST
                                         ^




 (352) Area Code = 123,617 total#s To be sent on 8/19/09 @ 9:30AM EST
                                             ^




 (941) Area Code 62,013 total #s To be sent on 8/20/09 @ 9:30AM EST
                                         ^
                    =




 You will receive a check in the amount of $7,668.40tomorrow.

 Please remove the 2 numbers we discussed from the last round (813-783-7790 & 813-333-1049)    and add any new
 numbers you may have gained since our last campaign to make up for our balance of credits.

As a reminder, put my faxes on each day,s list (310) 275-8995, (866) 613-5112, and (813} 872-0046.

Thank you,

Matt Kaiser
Tampa Bay Buccaneers
9601 Wiîshire Blvd., Suite 744
Beverly Hills, CA 90210
Tel: (310) 275-8944
Fax: (310) 275-8995



From: Matt Kai           ser@firstÃliedcoO.com]
                    mailÄm
Sent: Monday, August 10, 2009 3:03 PM
To: 'sales@faxqom.com'
Subject: RE: Buccaneers Fax

To whose attention and what number?

Attached   is the correct fax to send.

Let,s keep the same time each day (9:15AM).

Matt Kaiser
First Allied Corporation
9801 Wilshire Blvd., Suite 744
Beverty Hills, CA 90210
Tel: (310) 275-8944




                                                                                                         BLP 000087
  Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 14 of 24 PageID 5418


                                                                          faxQam
                                                                  Worldwide IP Fax Broadcast
                                                                           617-674-2147
                                                                        www.Faxqom.com
                                                 Fax Broadcast Order Form


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       What area codes do you want to fax to?                                   What Quantitiesper area code?
       Please list area codes and quantities                               below and any other broadcast details needed !

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       2.5 cents per fax rate

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       Credit Card Info for Payment:                               Mastercard / Visa only                                                ,


       The charge         on your         credit      card statement               will read:       NetFax              or Fax Sports
       Card Number:                                                                                                Exp Date:

       3 digit sec code:                                  Your Signature                 Ämpe Es de // Or syrÑaa




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Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 15 of 24 PageID 5419




   From: Matt Kaiser <mkaiser@firstalliedcorp.com>
   Subject: Mobile Marketing, Etc.
   Date: July 9, 2009 at 4:42:42 PM PDT
   To: Edward Glazer <eglazer@mac.com>

   Ed,

   I sent the agreements out today for the text, email and fax campaigns. They included the
   indemnifications approved by Manny and m1 Exhibit A that I put together allowing us to cancel
   anytime, giving us a credit for any unsuccessful deliveries, and verifying that the companies are
   using best industry approved practices according to the DMA. Payment has been arranged as
   well.

   We're all set with the text and Jason is finalizing your changes with the fax sheets and HTML
   email.

   Please let me know if there is anything else you need while I am here. I went to a Rays game
   and have a list of some ideas as well as a photo of all their advertisers. I have video of half the
   billboards in town as well as some comments for each.

   We should be all set with the press conference as well. Jim Sorenson says 90% of our players
   have to wear Nike shoes and gloves, per their individual contracts, and shoes are made with
   colors for retail sale purposes. Tennessee wears all black shoes now, but he is looking into what
   else we can get and should have feedback next week. He's very responsive.

   I'm here if you need me. We got a lot done the last few days!

   Matt Kaiser
   Mobile: (310) 980-4068




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Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 16 of 24 PageID 5420




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                                           Worldwide IP Fax Broadcast
                                                617-674-2147
                                              www.Faxqom.com
                                  Fax Broadcast Order Form

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       City:   L-as /rrij<tlts             State:    C..A                   Zip:          C/()06 7

      Phone:       /;10) ~7{· <trt/V Fax: /31 0 ) J7f· f7fsEmail: ;VJft.,/s-fr(!]
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      What area codes do you want to fax to? What Quantities per area code?
      Please list area codes and quantities below and any other broadcast details needed !

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          s-/'Jo - A-II
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      Credit Card Info for Payment: Mastercard I Visa only
      The charge on your credit card statement wm read: NetFax or Fax Sports

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Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 17 of 24 PageID 5421




     From: Matt Kaiser <mkaiser@flrstalliedcorp.com>cf
   Subject: Buccaneers Fax
      Date: May 20, 20i 0 2:24:19 PM PDT
       To: 0 sales@faxqom.com" <:sales@faxqom.com>
                                                                                                           3 r~uachments 735 t<B


   Steve,

   Attached is the revised order form starting on Monday. The check will be to you
   tomorrow.

   Please show me the proof of the opt out info you add the the cover, and please
   keep it simple and only related to opting out. Also, please acknowledge my
   indemnification note.

   We are still going to do a 50/50 split each day (so the cover page goes with all,
   but you will swap out the #2 page for half the numbers).

   Call anytime with any questions.

   2010 Fax C ocx Ui?..Q...Kfil




        r                         •Group tickets starting at S32 per seat
                                         for groups of iO or more
                                       •Savings up to S16 per ticket
                         •Fully catered tailgating packages also available

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                GROUP TICKETS                      •   Jucksrnnilk     .Si:it.   :\ug.18        7.jO!-'H




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Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 18 of 24 PageID 5422




     From: Matt Kaiser <mkaiser@firstalliedcorp.com>
   Subject: Re: Next week
      Date: May 28, 2010 4:12:25 PM PDT
        To: sa!es@faxqom.com


  Let's do 25% more of 941 on Tuesday and the remaining 25°/o of 941 on
  Wednesday.

   Matt Kaiser
   Acquisitions Manager



  First Allied Corporation
  10250 Constellation Blvd., Suite 2850
  Los Angeles, CA 90067
  P: (310) 275-8944
  F: (310) 275-8995




  On May 28, 2010, at 1 :51 PM, ~ales@faxqom.com wrote:

   Matt,


   Hope you have a super holiday weekend.

   As soon as you can please send over the schedule for tuesday thru friday next
   week. We are already getting fairly booked up for next week after holiday for
   some reason early.


   Steve




                                                                                 BLP0032!
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    From: Matt Kaiser <mkaiser@firstalliedcorp.com>
  Subject: 941
     Date: May 28, 2010 5:37:35 PM PDT
       To: sales@faxqom.com


  Let's not use the order forms for the faxes on Tuesday and Wednesday.

  Thanks,

  Matt Kaiser
  Acquisitions Manager



  First Allied Corporation
  10250 Constellation Blvd., Suite 2850
  Los Angeles, CA 90067
  P: (310) 275~8944
  F: (310) 275-8995




                                                                             BLP00326
Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 20 of 24 PageID 5424




     From: "sales@faxqom.com 11 <sa!es@faxqom.com>#
   Subject: tThis weeks runs
     Date: June 7, 20i O 7:05:57 AM PDT
       To: Matt Kaiser <mkaiser@firstalliedcorp.com>


   Matt,

   Attached is the signed order form you requested.

   I have scheduled the 352 area code this morning to start at 11 am eastern for
   you.

   Hope you had a super weekend.


   Steve

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                                                     Fax Broadcast Order Form

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Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 21 of 24 PageID 5425




    From: sales@faxqom.com
  Subject: Re: tThis weeks runs
     Date: June 7, 2010 10:39:25 AM PDT
       To: "Matt Kaiser" <mkaiser@firstalliedcorp.com>


  Matt,

  I scheduled today for you based on the voicemaH I got from you about running
  today (monday} upon receiving the signed order form .................. ..


  no problem ....................... i will finish up 352 by thurs for you


  Have a good one,




  Steve




                                                                                 BLP00343
Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 22 of 24 PageID 5426




     From: Matt Kaiser <mkaiser@firstalliedcorp.com>&'
   Subject: Letter
     Date: June 9, 2010 5:17:52 PM PDT
        To: sales@faxqom.com


   Steve,

   We received a letter today with the attached paragraph summarized below.
   Can you please explain to me (just so I understand) what this means, and what
   these specific/referenced chapters of the Florida Statutes mean?

   I would like to hold off on sending anything else out until I understand this first

   Thank you,
                                     Matt Kaiser
                                     Vice President I Acquisitions
                                     10250 Constellation Boulevard
                                     Suite 2850
                                     Los Angeles, CA 90067·6245
                                     Office: 310·275-8944
                                     Fax: 310-275·8995
                                     www,firstallledcorn,com




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        Case 8:13-cv-01592-AEP Document 207-4 Filed 03/25/16 Page 23 of 24 PageID 5427



From:                         Matt Kaiser < mkaiser@firstalliedcorp.com>
Sent:                         Wednesday, June 09, 2010 4:57 PM
To:                           sales@faxqom.com
Cc:                           Milsom, Ben; Layton, Jason
Subject:                      Re: 352


Thanks, Steve.

Let's finish 727 on Tuesday, Wednesday, and Thursday.
                       Matt Kaiser
                       Director of New Business Development                 On Jun 9, 2010,
                       10250 Constellation Boulevard                        at 1:55 PM,
                       Suite 2850
                       Los Angeles, CA 90067-6245
                                                                            sales@faxq om. co
                       Office: 310-275-8944                                 m wrote:
                       Fax: 310-275-8995
                       www.Buccaneers.com
Matt,


352 will complete tomorrow morning.


Steve




                                                                                         BLP00631
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          Matt Kaiser
          RE: Fax Revenue
          July 20. 2009 at 11 :02 AM



  Great! The cost was $15,336 (since we did 2-page faxes). One more sale and we're about
  there.

  Matt Kaiser
  Acquisitions Manager
  First Allied Corporation
  9601 Wilshire Blvd., Suite 744
  Beverly Hills, CA 90210
  Tel: (310) 275-8944
  Fax: (3 I 0) 275-8995
  www.firstalliedcorp.com




  From: Milsom, Ben [mailto:bmilsom@buccaneers.nfl.com]
  Sent: Monday, July 20, 2009 11:11 AM
  To: Layton, Jason; Matt Kaiser
  Subject: Fax Revenue

  Jason/Matt:

  So far we have generated $12,643 in Group Sales revenue from the Group Fax Blasts.

  Ben


                                Ben Milsom
                                Director of Sales
                                Tampa Bay Buccaneers
             Ill                One Buccaneer Place
                                Tampa FL 33607
                                813-554-1305
                                www.buccaneers.com




                                                                                           BLP00676
